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                 UNITED STATES DISTRICT COURT

                 EASTERN DISTRICT OF LOUISIANA




fflRAN RODRIGUEZ,                             CIVIL ACTION NO. 2:25-cv-00197

PLAINTIFF                                     SECTION A

                                              JUDGE JAY C. ZAINEY

V.

                                              DIVISION 2

META PLATFORMS, INC., ETAL.                   MAGISTRATE JUDGE

DEFENDANTS                                    DONNA P. CURRAULT




                                              JURY TRIAL DEMANDED




     MOTION TO SUPPLEMENT THE RECORD WITH EXHIBITS

             REFERENCED IN APPELLATE FILINGS
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NOW INTO COURT, through undersigned, comes Plaintiff, HIRAN RODRIGUEZ, appearing

pro se, who respectfully moves this Honorable Court to supplement the record in this matter with

the exhibits submitted in connection with Plaintiff’s June 2,2025 motion in the Fifth Circuit Court

of Appeals in Rodriguez v. Meta Platforms, Inc., No. 25-30297.


    1. On June 2, 2025, Plaintiff filed a Motion to Strike Dismissal, Supplement Record,

         Acknowledge Evidence, and Refer Misconduct with the United States Court of Appeals

         for the Fifth Circuit. That motion references and attaches several exhibits relevant to the

         present action.

    2. In order to ensure completeness of the district court record and preserve all evidentiary

         materials relevant to appellate review and constitutional claims. Plaintiff requests that those

         exhibits be formally lodged into the record of this Court.

    3.   The exhibits include documentation of surveillance           conduct, evidentiary tampering,

         improper dismissals, and misconduct implicating parties and legal officers within this

         Court’s jurisdiction.


WHEREFORE, Plaintiff respectfully requests that this Court enter an order supplementing the

district court record with the exhibits referenced and attached to Plaintiffs June 2, 2025 Fifth

Circuit filing.


Respectfully submitted.




/s/ Hiran Rodriguez




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Hiran Rodriguez


820 Grove Ave,


Metairie, LA 70003


Pro Se Plaintiff




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                              CERTIFICATE OF SERVICE



I hereby certify that on June 4,2025, a true and correct copy of the foregoing Motion to Supplement

the Record with Exhibits Referenced in Appellate Filings was served via electronic mail to all

counsel of record at the following addresses:


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Executed on June 4,2025.




/s/ Hiran Rodriguez


Hiran Rodriguez


820 Grove Ave




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       RESERVATION OF RIGHTS AND NON-CONSENT DECLARATION



Plaintiff expressly reserves all rights, remedies, and protections secured under the Constitution and

laws of the United States, including but not limited to those under the First, Fourth, Fifth, Sixth,

Seventh, and Fourteenth Amendments. No waiver of any such rights - either substantive or

procedural - is intended or implied by the filing of this motion or any previous or future

participation in this case. Plaintiff further declares that he does not consent to any proceedings.

orders, or requirements that are contrary to or beyond the lawful authority of the Court or that

violate his constitutional rights. By submitting this motion. Plaintiff does not consent to the

jurisdiction of any magistrate judge on any dispositive matter, and he reserves the right to challenge

ex post facto any act which exceeds the Court’s jurisdiction or contravenes due process. All

objections and exceptions are preserved to the fullest extent of the law.




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